
USCA1 Opinion

	





                                [NOT FOR PUBLICATION]




                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1338

                               JOSEPH G. VECCHIO, JR.,

                                Plaintiff, Appellant,

                                          v.

                          ANGELO LaMONICA, INDIVIDUALLY AND

                AS CHIEF OF POLICE OF THE WINTHROP POLICE DEPARTMENT,

                                 Defendant, Appellee.


                                 ____________________

                                     ERRATA SHEET

            The unpublished  opinion  of this  Court,  issued  on October  17,
        1996, is amended as follows:

            On page 2, line 12, replace "LaMonica" with "Vecchio".












































                                [NOT FOR PUBLICATION]


                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1338

                               JOSEPH G. VECCHIO, JR.,

                                Plaintiff, Appellant,

                                          v.

                          ANGELO LaMONICA, INDIVIDUALLY AND

                AS CHIEF OF POLICE OF THE WINTHROP POLICE DEPARTMENT,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                  Cyr, Circuit Judge,
                                       _____________
                                Boudin, Circuit Judge,
                                        _____________
                             and Ponsor, District Judge.
                                         ______________

                                 ____________________

            Paul  J.  Klehm  with  whom  James B.  Krasnoo  was  on brief  for
            _______________              _________________
        appellant.
            Bradford N. Louison with whom Merrick &amp;  Louison was on brief  for
            ___________________           __________________
        appellee.


                                 ____________________

                                   October 17, 1996

















                                 ____________________

        ______________________

        * Of the District of Massachusetts, sitting by designation.































































                 Per Curiam.  Plaintiff Joseph Vecchio brought suit under
                 __________

            42 U.S.C.   1983 against Angelo LaMonica, the chief of police

            of  the  Winthrop  Police  Department.   The  district  court

            granted  summary judgment  for  LaMonica on  all the  federal

            claims and remanded Vecchio's  two remaining state law claims

            to state court.  We affirm.

                 The  primary target  of  Vecchio's  suit was  LaMonica's

            administrative action in suspending Vecchio's  gun license --

            a matter  typically  challenged and  resolved  through  state

            remedies.  This occurred because of Vecchio's alleged failure

            to comply  with a  state statutory requirement  that he  give

            notice  of his change of address.  Although Vecchio says that

            the state statute has been misconstrued, state remedies exist

            to redress any  such mistake,  and nothing here  points to  a

            constitutional violation.   See Cross v.  Cunningham, 87 F.3d
                                        ___ _____     __________

            586, 589 (1st Cir. 1996).

                 Vecchio has also asserted,  as a civil rights violation,

            what  appears  to   be  a  garden-variety   defamation  claim

            concerning the posting in the police  station of an anonymous

            letter  that accuses Vecchio of dealing drugs.  But there was

            no  evidence before  the  district court  to  show that  this

            letter was  created by,  or  at the  direction of,  LaMonica.

            Thus, summary  judgment  was properly  granted even  assuming

            (dubitante) that any constitutional claim might otherwise  be
             _________

            stated.



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                 Despite the spirited  efforts of  LaMonica's counsel  on

            appeal, we  are  satisfied that  nothing  in this  case  even

            remotely approaches the type of government conduct that gives

            rise to a section 1983 action for due process violations.

                 Affirmed. 
                 ________











































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